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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

WINDY LUCIUS,

              Plaintiff,

v.                                                     Case No. 6:22-cv-1001-WWB-DAB

KABOOKI SUSHI, LLC and KABOOKI
SUSHI II, LLC,

              Defendants.


                                          ORDER

       The Court has been advised by Plaintiff’s Notice of Settlement that the above-

styled action has been completely settled. (Doc. 8 at 1).

       Accordingly, pursuant to Local Rule 3.09(b) of the Middle District of Florida, it is

ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice

subject to the right of any party, within sixty days from the date of this Order, to move the

Court to enter a stipulated form of final order or judgment, or, on good cause shown, to

reopen the case for further proceedings. The Clerk is directed to close this file.

       DONE AND ORDERED at Orlando, Florida on June 28, 2022.




Copies to:
Counsel of Record
